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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
GARY RIHN, BONITA RII-IN )
)
Plaintiffs )
) Case No: 4:07CV00197 ERW
vs. )
)
TYOKA JACKSON )
)
Defendant )

DEFENDANT’S MOTION IN LIMINE REGARDING EVIDENTIARY ISSUES

COMES NOW Defendant Tyoka Jackson for his motion in limine regarding the
exclusion of certain evidentiary issues requests that the Court exclude any testimony, argument,
exhibits, reference or suggestion of the following:

l. The Defendant’s net Worth or Suggestion that the Defendant is a Wealthy
individual or has significant assets.

2. That the FAA issued a complaint against the Defendant or that the complaint was
resolved by Defendant by payment cfa lesser amount.

3. Testimony from Dr. Neil Aronov beyond that which Dr. Aronov testified to in his
deposition or as is detailed in his medical records regarding the Plaintiff.

4. Any medical treatment or bills for “physical” injuries by the Plaintiff.

5. That airport police detained Defendant or boarded the plane following the

incident

 

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CERTIFICATE OF SERVICE

I hereby certify that on March 7, 2008, the foregoing Was filed electronically With the
Clerk of Court to be served by operation of the Court’s electronic filing system upon the
following: Douglas P. Dowd, Attorney for Plaintiffs, 100 N. Broadway, Suite 1600, St. LouiS,
Missouri 63102.

/s/ Thomas J. Magee
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